                      Case 8:12-cr-00379-TDC Document U.S.
                                                      10 Filed   08/01/12
                                                           Department       Page 1 of 9
                                                                       of Justice


                                                                        United States Attorney
                                                                        District of Maryland
                                                                        Southern Division

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~ROd       J. Rosenstein                                                6500 Cherrywood Lane---_lODGED                         ~301-34        - 432
       United States Attorney                                           Fourth Floor                                             MAIN: 301-344-4433

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       Assistant United States Attorney                                                                         "        .       ujit.Raman@usdoj.gov
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                                                                                                    ctERlC u.s. OlSTf;,';;', \:'~lJl1i
                                                                                                      DISTRICT OF MI\~\,I.ANO
                                                                        June 27, 2012,
                                                                                                                                         ~".

       William R. Buie III, Esq.
       The Law Office of William R. Buie III, P.A.
       12 South Calvert Street, 2d Floor
       Baltimore, Maryland 21202

                             Re:          United States v. Olawaseun Sanya,
                                          Criminal No. [t~ be determined] PJl4 - 12 - D3~q

       Dear Mr. Buie:

                        This letter, together with its Sealed Supplement, confirms the plea agreement that has
       been offered to the Defendant by the United States Attorney's Office for the District of Maryland
       ("this Office"). If the Defendant accepts this offer, please have him execute it in the spaces provided
       below. If this offer has not been accepted by 5:00 p.m. on Friday, June 29, 2012, it will be deemed
       withdrawn. The terms of the proposed agreement are as follows:

                                                         Offense of Conviction

                         1.     The Defendant agrees to plead guilty to Count One of a criminal information
       that will be filed against him, which will charge him with conspiracy to commit access device fraud,
       in violation of Title 18, United States Code, Section 1029(b )(2), and which will allege criminal
       forfeiture, as well. The Defendant admits that he is, in fact, guilty of that offense and will so advise
       the Court.

                                                        Elements of the Offense

                      2.      The elements ofthe offense to which the Defendant has agreed to plead guilty,
       and which this Office would prove if the case went to trial, are as follows: Conspiracy to Commit
       Access Device Fraud: (1) that two or more persons, including the Defendant, entered the unlawful
       agreement described in the Information starting in at least 2010;(2) that the Defendant knowingly
       and willfully became a member of the conspiracy; (3) that one of the members of the conspiracy
       knowingly committed at least one of the overt acts specified in the Information; and (4) that the overt
       acts were committed to further some objective of the conspiracy, namely, to enrich the Defendant
       and his conspirators through the use of stolen credit card information.
          Case 8:12-cr-00379-TDC Document 10 Filed 08/01/12 Page 2 of 9



                                             Penalties

                3.        The maximum sentence provided by statute for the offense to which the
Defendant is pleading guilty is as follows: seven and one-half years' imprisonment, three years'
supervised release, and a maximum fine of$250,000 or twice the gross gain or gross loss occasioned
by the Defendant's conduct. In addition, the Defendant must pay $100 as a special assessment
pursuant to 18 U.S.C. ~ 3013, which will be due and should be paid at or before the time of
sentencing. This Court may also order him to make restitution pursuant to 18 U.S.c. ~~ 3663,
3663A, and 3664.1 If a fine or restitution is imposed, it shall be payable immediately, unless,
pursuant to 18 U.S.C. ~ 3572(d), the Court orders otherwise. The Defendant understands that ifhe
serves a term of imprisonment, is released on supervised release, and then violates the conditions
of his supervised release, his supervised release could be revoked - even on the last day ofthe term
- and the Defendant could be returned to custody to serve another period of incarceration and a new
term of supervised release. The Defendant understands that the Bureau of Prisons has sole discretion
in designating the institution at which the Defendant will serve any term of imprisonment imposed.

                                         Waiver of Rights

                4.           The Defendant understands that by entering into this agreement, he
surrenders certain rights as outlined below:

                        a.     If the Defendant had not entered into this agreement, he would have
had the right to have the Grand Jury consider the charges against him. He could have entered a plea
of not guilty to any charges voted by the grand jury. He would have had the right to a speedy jury
trial with the close assistance of competent counsel. That trial could be conducted by a judge,
without a jury, if the Defendant, this Office, and the Court all agreed.

                      b.      If the Defendant elected a jury trial, the jury would be composed of
twelve individuals selected from the community. Counsel and the Defendant would have the
opportunity to challenge prospective jurors who demonstrated bias or who were otherwise
unqualified, and would have the opportunity to strike a certain number of jurors peremptorily. All
twelve jurors would have to agree unanimously before the Defendant could be found guilty of any
count. The jury would be instructed that the Defendant was presumed to be innocent, and that
presumption could be overcome only by proof beyond a reasonable doubt.

                      c.      If the Defendant went to trial, the government would have the burden
of proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the government's witnesses. The Defendant would not have to present
any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in his
defense, however, he would have the subpoena power of the Court to compel the witnesses to attend.


               Pursuant to 18 U.S.c. ~ 3612, if the Court imposes a fine in excess of$2,500 that
remains unpaid 15 days after it is imposed, the Defendant shall be charged interest on that fine,
unless the Court modifies the interest payment in accordance with 18 U.S.C. ~ 3612(£)(3).

                                                 2
           Case 8:12-cr-00379-TDC Document 10 Filed 08/01/12 Page 3 of 9




                         d.     The Defendant would have the right to testify in his own defense ifhe
so chose, and he would have the right to refuse to testify. lfhe chose not to testify, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

                        e.     lfthe Defendant were found guilty after a trial, he would have the right
to appeal the verdict and the Court's pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges against
him. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the
Court's decisions.

                        f.      By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that he may have to
answer the Court's questions both about the rights he is giving up and about the facts of his case.
Any statements the Defendant makes during such a hearing would not be admissible against him
during a trial except in a criminal proceeding for perjury or false statement.

                         g.     lfthe Court accepts the Defendant's plea of guilty, there will be no
further trial or proceeding of any kind, and the Court will find him guilty.

                         h.      By pleading guilty, the Defendant will also be giving up certain
valuable civil rights, including but not limited to the right to vote and the right to bear a firearm, and
may be subject to deportation or other loss of immigration status. The Defendant recognizes that if
he is not a citizen of the United States, pleading guilty may have consequences with respect to his
immigration status. Under federal law, conviction for a broad range of crimes can lead to adverse
immigration consequences, including automatic removal from the United States. Removal and other
immigration consequences are the subject of a separate proceeding, however, and the Defendant
understands that no one, including his attorney or the Court, can predict with certainty the effect of
a conviction on immigration status. Defendant nevertheless affirms that he wants to plead guilty
regardless of any potential immigration consequences.

                               Advisory Sentencing Guidelines Apply

               5.      The Defendant understands that the Court will determine a sentencing
guidelines range for this case (henceforth the "advisory guidelines range") pursuant to the
Sentencing Reform Act of 1984 at 18 U.S.C. SS 3551-3742 (excepting 18 U.S.C. SS 3553(b)(l)
and 3742(e)) and 28 U.S.C. SS 991 through 998. The Defendant further understands that the
Court will impose a sentence pursuant to the Sentencing Reform Act, as excised, and must take
into account the advisory guidelines range in establishing a reasonable sentence.




                                                    3
          Case 8:12-cr-00379-TDC Document 10 Filed 08/01/12 Page 4 of 9



                            Factual and Advisory Guidelines Stipulation

                6.       This Office and the Defendant understand, agree, and stipulate to the
Statement ofF acts set forth in Attachment A hereto that this Office would prove beyond a reasonable
doubt, and set forth the following agreed-upon and disputed applicable sentencing guidelines factors:

                       a.      Pursuant to ~ 2X1.1 and ~ 2B1.I(a)(2), the base offense level is 6.

                        b.      This Office will argue that 14-level upward adjustment applies,
pursuant to ~ 2B 1.1(b)(1 )(H), because the loss amount was greater than $400,000 but not greater
than $1,000,000. The Defendant will argue that a 4-level upward adjustment applies, pursuant to ~
2B 1.1(b)(1 )«J, because the loss amount was greater than $10,000 but not greater than $30,000.

                       c.      Pursuant to ~ 2B 1.1(b)(2)«J, the adjusted offense level is increased by
6 levels because the offense involved 250 or more victims.

                      d.     Pursuant to ~ 2B 1.1(b)(11 )(A)(I), the adjusted offense level is
increased by 2 levels because the offense involved the possession or use of any device-making
equipment.

                      e.      Pursuant to ~ 3B1.I(a), the adjusted offense level is increased by
4 levels because the Defendant was an organizer or leader of a criminal activity that involved five
or more participants.

                          f.      This Office does not oppose a two-level reduction in the Defendant's
adjusted offense level, based upon the Defendant's apparent prompt recognition and affirmative
acceptance of personal responsibility for his criminal conduct. This Office may oppose any
adjustment for acceptance of responsibility if the Defendant (a) fails to admit each and every item
in the factual stipulation; (b) denies involvement in the offense; «J gives conflicting statements about
his involvement in the offense; (d) is untruthful with the Court, this Office, or the United States
Probation Office; (e) obstructs or attempts to obstruct justice prior to sentencing; (f) engages in any
criminal conduct between the date of this agreement and the date of sentencing; or (g) attempts to
withdraw his plea of guilty. The final offense level is 29 (this Office's position) or 19 (the
Defendant's position).

                 7.     The Defendant understands that there is no agreement as to his criminal
history or criminal history category, and that his criminal history could alter his offense level if he
is a career offender or if the instant offense was a part of a pattern of criminal conduct from which
he derived a substantial portion of his income.

                8.     This Office and the Defendant agree that with respect to the calculation of the
advisory guidelines range, no other offense characteristics, sentencing guidelines factors, potential
departures or adjustments set forth in the United States Sentencing Guidelines will be raised or are


                                                   4
           Case 8:12-cr-00379-TDC Document 10 Filed 08/01/12 Page 5 of 9



in dispute. If the Defendant wishes to argue for any factor that could take the sentence outside of
the advisory guidelines range, he will notify the Court, the United States Probation Officer and
government counsel at least 14 days in advance of sentencing of the facts or issues he intends to
raIse.

                         Obligations of the United States Attorney's Office

               9.     At the time of sentencing, this Office will recommend a sentence within the
applicable advisory guidelines range as determined by the Court. In addition, this Office will
recommend that the Court impose a judgment of full restitution to the victim.

               10.   The parties reserve the right to bring to the Court's attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant's background, character and conduct.

                                              Restitution

                 11.     The Defendant agrees that, pursuant to 18 U.S.C. SS 3663 and 3663A and SS
3563(b)(2) and 3583(d), the Court may order restitution of the full amount of the actual, total loss
caused by the offense conduct set forth in the factual stipulation. The Defendant further agrees that
he will fully disclose to the probation officer and to the Court, subject to the penalty of perjury, all
information, including but not limited to copies of all relevant bank and financial records, regarding
the current location and prior disposition of funds obtained as a result of the criminal conduct set
forth in the factual stipulation as well as any funds that may be available as substitute assets for the
purpose of restitution. The Defendant further agrees to take all reasonable steps to retrieve or
repatriate any such funds and to make them available for restitution. If the Defendant does not fulfill
this provision, it will be considered a material breach of this plea agreement, and this Office may
seek to be relieved of its obligations under this agreement.

                                              Forfeiture

                 12.     The Defendant understands that the court will, upon acceptance of his guilty
plea, enter an order of forfeiture as part of his sentence, and that the order of forfeiture may include
assets directly traceable to his offense, substitute assets, and/or a money judgment equal to the value
of the property derived from, or otherwise involved in, the offense. Specifically, the court will order
the forfeiture of all proceeds obtained or retained as a result of the offense. In addition, the
Defendant agrees to forfeit to the United States Secret Service a vehicle he used to further his
criminal scheme, to wit: one black Range Rover HSE (YIN: SALMF114X4AI58426).                         The
Defendant agrees to consent to the entry of orders of forfeiture for all such property and waives the
requirements of Federal Rules of Criminal Procedure II(b)(I)(J), 32.2 and 43(a) regarding notice
of the forfeiture in the charging instrument, advice regarding the forfeiture at the change-of-plea
hearing, announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the
judgment. This Office agrees to seek the Attorney General's approval to apply forfeited assets to
the Defendant's Restitution Order.


                                                   5
           Case 8:12-cr-00379-TDC Document 10 Filed 08/01/12 Page 6 of 9



                      Assisting the Government with Regard to the Forfeiture

                  13.    The Defendant agrees to assist fully in the forfeiture of the foregoing assets.
The Defendant agrees to disclose all of his assets and sources of income to the United States, and
to take all steps necessary to pass clear title to the forfeited assets to the United States, including but
not limited to executing any and all documents necessary to transfer such title, assisting in bringing
any assets located outside of the United States within the jurisdiction of the United States, and taking
whatever steps are necessary to ensure that assets subject to forfeiture are not sold, disbursed,
wasted, hidden or otherwise made unavailable for forfeiture. The Defendant further agrees that he
will not assist any third party in asserting a claim to the forfeited assets in an ancillary proceeding
and that he will testify truthfully in any such proceeding.

                                Waiver of Further Review of Forfeiture

                 14.    The Defendant further agrees to waive all constitutional, legal, and equitable
challenges (including direct appeal, habeas corpus, or any other means) to any forfeiture carried out
in accordance with this Plea Agreement on any grounds, including that the forfeiture constitutes an
excessive fine or punishment. The Defendant also agrees not to challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this agreement, and will not
assist any third party with regard to such challenge or review or with regard to the filing of a petition
for remission of forfeiture.

                                           Waiver of Appeal

               15.    In exchange for the concessions made by this Office and the Defendant in this
plea agreement, this Office and the Defendant waive their rights to appeal as follows:

                         a.     The Defendant knowingly waives all right, pursuant to 28 U.S.C.
S   1291 or otherwise, to appeal the Defendant's conviction;

                         b.       The Defendant and this Office knowingly waive all right, pursuant to
18 U.S.C. S 3742 or otherwise, to appeal whatever sentence is imposed (including the right to appeal
any issues that relate to the establishment of the advisory guidelines range, the determination of the
defendant's criminal history, the weighing of the sentencing factors, and the decision whether to
impose and the calculation of any term of imprisonment, fine, order offorfeiture, order of restitution,
and term or condition of supervised release), except as follows: (i) the Defendant reserves the right
to appeal any term of imprisonment to the extent that it exceeds any sentence within the advisory
guidelines range resulting from an adjusted base offense level of29; and, (ii) this Office reserves the
right to appeal any term of imprisonment to the extent that it is below any sentence within the
advisory guidelines range resulting from an adjusted base offense level of 19.

                        c.      Nothing in this agreement shall be construed to prevent the Defendant
or this Office from invoking the provisions of Federal Rule of Criminal Procedure 35(a), or from
appealing from any decision thereunder, should a sentence be imposed that resulted from
arithmetical, technical, or other clear error.

                                                    6
           Case 8:12-cr-00379-TDC Document 10 Filed 08/01/12 Page 7 of 9




                        d.      The Defendant waives any and all rights under the Freedom of
Information Act relating to the investigation and prosecution of the above-captioned matter and
agrees not to file any request for documents from this Office or any investigating agency.

                               Obstruction or Other Violations of Law

                 16.      The Defendant agrees that he will not commit any offense in violation of
federal, state or local law between the date of this agreement and his sentencing in this case. In the
event that the Defendant (i) engages in conduct after the date of this agreement which would justify
a finding of obstruction of justice under U.S.S.G. S 3C1.1, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Pre-Sentence Report, or (iii) commits any offense in violation of federal, state or local
law, then this Office will be relieved of its obligations to the Defendant as reflected in this
agreement. Specifically, this Office will be free to argue sentencing guidelines factors other than
those stipulated in this agreement, and it will also be free to make sentencing recommendations other
than those set out in this agreement. As with any alleged breach of this agreement, this Office will
bear the burden of convincing the Court of the Defendant's obstructive or unlawful behavior and/or
failure to acknowledge personal responsibility by a preponderance of the evidence. The Defendant
acknowledges that he may not withdraw his guilty plea because this Office is relieved of its
obligations under the agreement pursuant to this paragraph.

                                             Tax Liability

                 17.     The Defendant understands that this agreement does not resolve any criminal
or civil tax liability that he may have as a result of his fraud, and that this agreement is with the
United States Attorney's Office, not with the Internal Revenue Service or the Tax Division, United
States Department of Justice. The Internal Revenue Service is not a party to this agreement and
remains free to pursue any and all lawful remedies it may have.

                                          Court Not a Party

                18.     The Defendant expressly understands that the Court is not a party to this
agreement. In the federal system, the sentence to be imposed is within the sole discretion of the
Court. In particular, the Defendant understands that neither the United States Probation Office nor
the Court is bound by the stipulation set forth above, and that the Court will, with the aid of the Pre-
sentence Report, determine the facts relevant to sentencing. The Defendant understands that the
Court cannot rely exclusively upon the stipulation in ascertaining the factors relevant to the
determination of sentence. Rather, in determining the factual basis for the sentence, the Court will
consider the stipulation, together with the results of the pre-sentence investigation, and any other
relevant information. The Defendant understands that the Court is under no obligation to accept this
Office's recommendations, and the Court has the power to impose a sentence up to and including
the statutory maximum stated above. The Defendant understands that if the Court ascertains factors
different from those contained in the stipulation set forth above, or if the Court should impose any


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              Case 8:12-cr-00379-TDC Document 10 Filed 08/01/12 Page 8 of 9



    sentence up to the maximum established by statute, the Defendant cannot, for that reason alone,
    withdraw his guilty plea, and will remain bound to fulfill all of his obligations under this agreement.
    The Defendant understands that neither the prosecutor, his counsel, nor the Court can make a binding
    prediction, promise, or representation as to what guidelines range or sentence the Defendant will
    receive. The Defendant agrees that no one has made such a binding prediction or promise.

                                              Entire Agreement

                    19.     This letter supersedes any prior understandings, promises, or conditions
    between this Office and the Defendant and, together with the Sealed Supplement, constitutes the
    complete plea agreement in this case. The Defendant acknowledges that there are no other
    agreements, promises, undertakings or understandings between the Defendant and this Office
    other than those set forth in this letter and the Sealed Supplement and none will be entered into
    unless in writing and signed by all parties.

                   If the Defendant fully accepts each and every term and condition of this
    agreement, please sign and have the Defendant sign the original and return it to me promptly.

                                                   Very truly yours,

                                                   Rod J. Rosenstein
                                                   Unite           ttorney

                                           By:
                                                   Suji
                                                   Assistant United States Attorney

                                                   Daren Firestone
                                                   Special Assistant United States Attorney




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                                                                     Case 8:12-cr-00379-TDC Document 10 Filed 08/01/12 Page 9 of 9


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                      including the Sealed Suppleme'nt with"blrrL":He advises me tha~ he understands and accepts its
                      temlS. To my knowledge; his decision to enter i             his            .s an . rmedand voluntary
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                       one.
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                       Dat                                                                                                        William R. Buie III, Esq.




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